Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 1 of 17




                  EXHIBIT 11
                Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 2 of 17


    Message
    From:           Vaughn, Jennifer R [/O =WELLS FARGO & CO. /OU= EXCHANGE ADMINISTRATIVE GROUP
                    (FYDI BOHF23SPDLT) /CN= RECIPIENTS /CN= A499245]
   Sent:            2/11/2014 11:02:10 AM
   To:              Pfeil, Daniel N. [/o =wells fargo & co. /ou= wfbl /cn= recipients /cn= n713575x]
   Subject:         Year End MPP
   Attachments:     Dan Pfeil 2013 Year End MPP.docx




   Hi Dan,

   Thank you for your time this morning. I added additional comments based on our discussion this morning.

   Thank you for a great 2013!


           Iw

      Dan Pfeil 2013
    Year End MPP.d...




   Jennifer Vaughn

   Implementation Manager
   Default Decisioning - Pre and Post Implementation
   Wells Fargo Home Mortgage 1 4101 Wiseman Blvd I San Antonio, TX 78251
   MAC T7419 -018
   Tel 210- 624 -6308 I Cell 210- 279 -7925

   jennifer.vaughn@wellsfargo.com

   A division of Wells Fargo Bank, N.A.

   The information in this email is confidential and /or proprietary. If you are not the intended recipient, please notify the sender
   immediately. You must not read, use or disseminate the information contained herein. Distribution or other use of the attached
   information is prohibited without the written consent of the author.




CONFIDENTIAL                                                                                                 WF_HERNANDEZ_00000302
             Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 3 of 17



                                                                                                                                  7,2v'i''f.f,{;
                                                                                                                                   I'r1   CI {_)


  Premier Performance - Home Lending Default Team Member template

  Managing Premier Performance Process
                                                                 Sharing the
                                                               Wells Fargo vision



                                                                                             I
                                          Planning for                                  Setting objectives
                                          development                                      and targets




                                                 Summarizing                    Providing coaching
                                                 performance                       and feedback




      Name: Dan Pfeil                                                        Employee ID #: 713575

                                                                             Department Name: Home Preservation Business Delivery and
      Job Title: Implementation Consultant 3[ FORMTEXT ]
                                                                             Support [ FORMTEXT ]

      For Year (month /year): 1/2013E FORMTEXT ]                to
                                                                             Review Effective Date: 1/2013[ FORMTEXT ]
      12/2013[ FORMTEXT ]


      Prepared By: Jennifer Vaughn[ FORMTEXT ]                               Job Title: Implementation Manager[ FORMTEXT ]



  Wells Fargo Vision
  We Want to Satisfy All of Our Customers' Financial Needs and Help Them Succeed Financially



  WF Home Lending Default Business Commitment
  We support the WF Vision by respectfully engaging, understanding, and advising our Customers of all available solutions for resolving their
  delinquency




                                               DO NOT WRITE ABOVE THIS LINE



CONFIDENTIAL                                                                                                   WF_HERNANDEZ_00000303
           Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 4 of 17




      Redacted                         Not Responsive




CONFI DENTIAL                                                    WF HERNANDEZ 00000304
            Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 5 of 17




      Redacted                                                  Not Responsive




  I   Throughout the Year Feedback and Date(s) Completed:
      Resolved Trouble Tickets in a timely manner meeting or exceeding SLA's within 24 -48 hours.
      From the time period of Jan -Jun I resolved 205 tickets that included a variety of HPA HAMP trial and final loan /tool issues including:
               Manual workouts by TOG to process MBS /RSI loans;
               MSP Data Issues for STAT code inaccuracies;
               Maturity and Note date values causing errors in the HPA due to incorrect values in MSP;


                                                       [ PAGE \* MERGEFORMAT I




CONFIDENTIAL                                                                                                     WF_HERNANDEZ_00000305
            Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 6 of 17




            Redacted                                           Not Responsive
      Actively participated as the Subject Matter Expert for WO HAMP HPA tool enhancements and defect fixes.
      Partnered with Business Analysts to review BRD's.
      Some of the 2013 projects included:
                Feb 13.1- Added SCRA logic in HPA to read new MSP fields; enhanced HPA to reduce number of Tier 2 manual
                workarounds
                Mar 13.3 -Added HHF in HPA; Updated the TYPE codes in the PMT to recognize Tier 2 trial payments; updated NPV
                thresholds by removing the 90% LTV logic; fixed PRA tab to forbear down to 90 %, not 100%
               Jun 13.4 -Added Temp Mod logic to the HPA for HAMP; 3 new HAMP denial reasons; updated the HPA trial deadline logic;
                cleaned up some outstanding defects

      Gained experience by participating in the Change Control scoring process by working with Jennifer Vaughn on CCR7066 to hold the
      pre -mod PITIAS constant from Trial to Final. By completing this exercise I gained an understanding of the scoring system and how
      each question holds a specific weight to determine a final score and next steps.




          Redacted                                             Not Responsive



       I have had great experiences working with Dan. He does a great job of responding quickly to questions that come up regarding
       the HPA tool. He is extremely knowledgeable and very resourceful. Dan always seems very eager to assist with questions that
       come up regarding the tool /process. I am very thankful that we have Dan and Kim assisting our team and think they both do a
       tremendous job.



                                                    [ PAGE \* MERGEFORMAT]              '




CONFIDENTIAL                                                                                                WF_HERNANDEZ_00000306
             Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 7 of 17




          Redacted                                               Not Responsive

                             Redacted - Not Responsive
      This year Dan has supported the change management process by participating in the development of business requirements for
      changes to HPA trial and final mod tool. Dan has also expressed an interest in learning more about the change management process
      by questioning the ideation and prioritization processes.


      Year End Feedback (July 2013 - Dec 2013):
      Took on additional responsibility resolving trouble tickets for B &P HAMP, Non -HAMP, HUP, and PUP.
      Met with the B &P HPU teams in Fort Mill to discuss roles and responsibilities and how we can assist with filtering the traffic that is
      being sent to the Default Trial Mod Support mailbox.
      Began a productive partnership with B &P Lending Officer Glenn Lagnese to understand the complexities of production tickets.
      Took initiative to learn the B &P waterfalls, understanding the relationship between HPA and CLARA, and learning the Adjust Limits
      functionality.
      Met SLA's for trouble tickets resolving issues within 24 -48 hours.
      Continued to partner with TOG, CFM, WFHE, and NLM (Post Closing) to resolve tickets.

      Participated in Releases:
           Aug 13.5 - 2MP and HEHAMP Delayed Conversion logic added to HPA; B &P Step Rate fixes; B &P Forbearance fix in Adjust Limits
           Jan 13.7 - Began HPA UAT support for all CFPB changes to the tool. Volunteered for WOPT CFPB testing due to an immediate
      need for additional resources. In addition, assisted with the manual interim workaround for Non -GSE HUP /PUP processes to
      implement a manual excel tool option.




          Redacted                                                Not Responsive
     L.




          Redacted                                             Not Responsive                                                              the




                                                       ¡ PAGE \* MERGEFORMAT ]




CONFIDENTIAL                                                                                                      WF_HERNANDEZ_00000307
          Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 8 of 17




          Redacted                    Not Responsive




CONFIDENTIAL                                                    WF_HERNANDEZ_00000308
         Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 9 of 17




        Redacted                      Not Responsive




CONFIDENTIAL                                                    WF_HERNANDEZ_00000309
            Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 10 of 17




            Redacted                                             Not Responsive


       Work closely with the WO Operational Risk Consultants and Lending Managers on many issues surrounding tool defects which pose
       risk and audit inquiries. This year I have partnered with ORC Casey Shanks and LM Duane Thomas to provide input on many different
       loan scenarios /issues /request that came from MHA or internal audits. Some examples include:




           Redacted                                    - Not Responsive

      Dan works with Operational Risk, Legal and RECOR when resolving issues. An example of this is HAMP maturity dates. The I- PA tool
      was built not allowing the review of HAMP loans if the current loan is matured and a workaround was needed since the MHA
      handbook requires these loans to be reviewed for HAMP. Dan reached out to Legal to review the proposed workaround to ensure
      there weren't any risks that had not been considered with the workaround.

                                                     [ PAGE \* MERGEFORMAT ]




CONFI DENTIAL                                                                                                W F_H E R NAN D EZ_00000310
           Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 11 of 17




           Redacted                                             Not Responsive
     ëär                               Decenibër 2013):
     Worked with Lending Officer Casey Shanks on many audit requests by providing information on the history of the HPA, logic
     concerns, waterfall inquiries, cap sheet approval /denial validations, and IR2 reporting impacts.

     Provided HPA tool demonstrations to both WO and B &P teams during the 13.7 release training sessions.

     Helped lead efforts during a July 2013 off -release to fix defect 17547 which impacted HAMP Tier 2 loans that were adding a step rate
     on the HPA cap sheet. Worked with Release Management and the UAT team to work swiftly and efficiently to get the defect fixed
     immediately.

     I was tasked as being the lead IC to manage the Corporate Advance Attorney Fee project. This project impacts the HPA tool and how
     it uses a F/C matrix that is longer supported and maintained.
                    I managed a small team of 2 HPU's to research loan level.
                    Facilitated meetings and presented findings to Lending Officers, Lending Managers, QA, HPU /SLR, HPS, Risk, and Legal
                    partners from all different business lines.
                    Helped present the issue at the Ideation meeting.
                    Followed the process through the Change Control review.
     I will continue to assume the role of lead IC and coordinate efforts to implement a short term manual workaround and a long term
     HPA tool fix.

     Jennifer Vaughn yearend comments:

     One of Dan's major contributions in this area for the last half of 2013 is leading the research effort for the Corporate Advance
     Attorney Fee project.

     In early August an issue regarding how corporate advance fees were determined in HPA was identified and escalated to senior
     leadership. Dan was assigned as the lead IC for this effort for all portfolios which involved identifying all waterfall programs
      programmed in HPA and reaching out to each business group to determine how corporate advance fees were handled. During this
     time we learned there is a table in HPA which has attorney fees by state programmed and these amounts were being pulled into the
     trial decision but the tool also pulled in any assessed attorney fees. In some cases attorney fees could have been double counted
     therefore impacting the modification decision.

     Dan was assigned with the task of conducting loan level research on a sampling of loans. This research was time consuming and
     required Dan to build a tracking spreadsheet along with working with TOG to identify an impacted loan population. Dan was also
     assigned two resources from HPU to assist with the loan level research. He managed these resources very well and ensured their
     work was meeting the expectations of senior leadership.

     On several occasions Dan was asked to summarize the results of the loan level research and present to senior leadership, Legal and
     RECOR. Dan did a wonderful job with this task and always presented well.

     At the end of the loan level research Dan was able to provide a recommendation on how to correct this in HPA as well as an interim
     process until the tool is updated.

     Dan completed all annual required training by the requested due date and passed all clean desk audits.

     Dan's Feedback 2/11/2014
     RECO fee project was a top priority on his plate; example of being able to oversee people to assist with loan level research. Likes
     digging in to understand how this issue impacted decisions. This project has given him an opportunity to lead and facilitate meetings


                                                      [ PAGE \* MERGEFORMAT




CONFIDENTIAL                                                                                                    WF_HERNANDEZ_00000311
           Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 12 of 17




    Redacted                           Not Responsive




                                  [ PAGE \* MERGEFORMAT




CONFI DENTIAL                                                    WF_HERNANDEZ_0000031 2
         Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 13 of 17




    Redacted                           Not Responsive




                                [ PAGE \* MERGEFORMAT ]




CONFIDENTIAL                                                    W F_H E RNAN DEZ_00000313
               Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 14 of 17




    #4




              Redacted                                              Not Responsive




         I pay close attention to items within Default Decisioning that I feel may be a risk to the business and ultimately the customer.
         Examples would be logging HPA defects and explaining to our TOG partners the issues at hand and what is needed for resolution.     I


         then play a key role in the testing and validation to make sure issues are resolved.

         Prior to implementation of tool fixes or enhancements, I gather fact based data (i.e. volume of impacted loans, procedure gaps, etc.)
         to determine risk and priority.




           Redacted                                             Not Responsive
                                                        [ PAGE \* MERGEFORMAT ]




CONFIDENTIAL                                                                                                     WF_HERNANDEZ_00000314
         Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 15 of 17




     Redacted                       Not Responsive




CONFIDENTIAL                                                    WF_HERNANDEZ_00000315
          Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 16 of 17




      Redacted                        Not Responsive




CONFIDENTIAL                                                    WF_HERNANDEZ_0000031 6
         Case 3:18-cv-07354-WHA Document 247-12 Filed 03/06/20 Page 17 of 17




   Redacted                         Not Responsive




                                 PAGE \* MERGEFORMAT ]




CONFIDENTIAL                                                    WF_HERNANDEZ_0000031 7
